Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 1 of 64 Page ID #:5617




                            Exhibit B
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 2 of 64 Page ID #:5618




                     Exhibit B-1
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 3 of 64 Page ID #:5619
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 4 of 64 Page ID #:5620
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 5 of 64 Page ID #:5621


      Reference:     Subpoena #15882
                     Records produced on 1/11/2021



                      Matt I. McQueen



             WebBank




                                                             BSA Officer



             9 yrs                                                           1 yr, 10 mos


                     Day-to-day compliance for the Bank Secrecy Act.




              X
              X




                                                                           xxxxxxxxxxx




  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                         DOJ_PROD_0000162823
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 6 of 64 Page ID #:5622




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  2   (Circle either "originals" or "true and correct duplicates" and
  3   strike out the other term.)
  4          3.     I certify that the attached record(s):
  5                 a.      was/were made at or near the time of the occurrence of
  6   the matters set forth therein,
  7                 b.      was/were made by, or from information transmitted by,
  8   a person with knowledge of those matters;
  9                 c.      was/were kept in the course of the regularly conducted
10    activity of the Business Entity;
11                  d.      was/were made by and in the course of the regularly
12    conducted activity as a regular practice;
13                  e.      if not original records, are exact duplicates of
 14   original records.
15           I declare under penalty of perjury that the foregoing is true
16    and correct.        This declaration is executed at                    Salt Lake City, UT
                                                                            (place document was signed)
17    on       5/6/2021
             (date document was signed)
18
                                                         (signature)
19
                                                              Matt I. McQueen
 20                                                      (typed or printed name)

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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                               DOJ_PROD_0000162824
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 7 of 64 Page ID #:5623
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 8 of 64 Page ID #:5624
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 9 of 64 Page ID #:5625
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 10 of 64 Page ID #:5626


      Reference:     Subpoena #14974
                     Records produced on 1/12/2021



                      Matt I. McQueen



             WebBank




                                                             BSA Officer



             9 yrs                                                           1 yr, 10 mos


                     Day-to-day compliance for the Bank Secrecy Act.




              X
              X




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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                         DOJ_PROD_0000162821
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 11 of 64 Page ID #:5627




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  2   (Circle either "originals" or "true and correct duplicates" and
  3   strike out the other term.)
  4          3.     I certify that the attached record(s):
  5                 a.      was/were made at or near the time of the occurrence of
  6   the matters set forth therein,
  7                 b.      was/were made by, or from information transmitted by,
  8   a person with knowledge of those matters;
  9                 c.      was/were kept in the course of the regularly conducted
 10   activity of the Business Entity;
 11                 d.      was/were made by and in the course of the regularly
 12   conducted activity as a regular practice;
 13                 e.      if not original records, are exact duplicates of
 14   original records.
 15          I declare under penalty of perjury that the foregoing is true
 16   and correct.        This declaration is executed at                    Salt Lake City, UT
                                                                            (place document was signed)
 17   on       5/6/2021
             (date document was signed)
 18
                                                         (signature)
 19
                                                              Matt I. McQueen
 20                                                      (typed or printed name)

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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                               DOJ_PROD_0000162822
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 12 of 64 Page ID #:5628
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 13 of 64 Page ID #:5629
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 14 of 64 Page ID #:5630


      Reference:     Subpoena #12917
                     Records produced on 8/12/2020



                      Matt I. McQueen



             WebBank




                                                             BSA Officer



             9 yrs                                                           1 yr, 10 mos


                     Day-to-day compliance for the Bank Secrecy Act.




              X
              X




                                                                           xxxxxxxxxxx




  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                         DOJ_PROD_0000162813
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 15 of 64 Page ID #:5631




  1

  2   (Circle either "originals" or "true and correct duplicates" and
  3   strike out the other term.)
  4          3.     I certify that the attached record(s):
  5                 a.      was/were made at or near the time of the occurrence of
  6   the matters set forth therein,
  7                 b.      was/were made by, or from information transmitted by,
  8   a person with knowledge of those matters;
  9                 c.      was/were kept in the course of the regularly conducted
 10   activity of the Business Entity;
 11                 d.      was/were made by and in the course of the regularly
 12   conducted activity as a regular practice;
 13                 e.      if not original records, are exact duplicates of
 14   original records.
 15          I declare under penalty of perjury that the foregoing is true
 16   and correct.        This declaration is executed at                    Salt Lake City, UT
                                                                            (place document was signed)
 17   on       5/6/2021
             (date document was signed)
 18
                                                         (signature)
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                                                              Matt I. McQueen
 20                                                      (typed or printed name)

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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                               DOJ_PROD_0000162814
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 16 of 64 Page ID #:5632
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 17 of 64 Page ID #:5633
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 18 of 64 Page ID #:5634


      Reference:     Subpoena #13019
                     Records produced on 8/29/2020



                      Matt I. McQueen



             WebBank




                                                             BSA Officer



             9 yrs                                                           1 yr, 10 mos


                     Day-to-day compliance for the Bank Secrecy Act.




              X
              X




                                                                           xxxxxxxxxxx




  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                         DOJ_PROD_0000162815
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 19 of 64 Page ID #:5635




  1

  2   (Circle either "originals" or "true and correct duplicates" and
  3   strike out the other term.)
  4          3.     I certify that the attached record(s):
  5                 a.      was/were made at or near the time of the occurrence of
  6   the matters set forth therein,
  7                 b.      was/were made by, or from information transmitted by,
  8   a person with knowledge of those matters;
  9                 c.      was/were kept in the course of the regularly conducted
 10   activity of the Business Entity;
 11                 d.      was/were made by and in the course of the regularly
 12   conducted activity as a regular practice;
 13                 e.      if not original records, are exact duplicates of
 14   original records.
 15          I declare under penalty of perjury that the foregoing is true
 16   and correct.        This declaration is executed at                    Salt Lake City, UT
                                                                            (place document was signed)
 17   on       5/6/2021
             (date document was signed)
 18
                                                         (signature)
 19
                                                              Matt I. McQueen
 20                                                      (typed or printed name)

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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                               DOJ_PROD_0000162816
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 20 of 64 Page ID #:5636




                      Exhibit B-2
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 21 of 64 Page ID #:5637




  1                 DECLARATION OF CUSTODIAN CERTIFYING BUSINESS RECORD
                Justin Masterman
  2          I, -----------      , hereby declare as follows:
                          (name)
  3
             1.      I am a duly authorized custodian of records for
  4
      Celtic Bank Corporation          (the "Business Entity").   In that capacity, I am
  5     (name of business entity)
      knowledgeable about the matters set forth herein and I am qualified
  6
      and authorized to make this declaration.
  7
                     a.       My job title/position is: BSA Officer
  8
                     b.       I have been employed in this capacity for
  9
         2 years                     and by the Business Entity for 3 years
 10
             (duration)                                                   (duration)

 11                  c.       My job duties are:

 12
              Oversee and manage the BSA/AML Program at Celtic Bank Corporation
 13

 14
                     d.       I am knowledgeable about the matters set forth herein
 15
      and the relevant record-keeping practices of the Business Entity
 16
      based upon (check all that apply):
 17
              X    Training.
 18
             X     Familiarity with relevant policy/policies.
 19
              X    Hands-on experience.
 20
              X    Supervision of one or more others with hands-on experience.
 21
                   Other.          Describe:
 22

 23
             2.      The record(s) produced within the indicated Bates range(s) listed
 24

 25   below are correct duplicates of a record or records of a regularly

 26   conducted activity of the Business Entity named above:

 27
 28                                            See Attachment A




  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                   DOJ_PROD_0000164359
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 22 of 64 Page ID #:5638




  1

  2          3.     I certify that the record(s)referenced above:
  3                 a.      was/were made at or near the time of the occurrence of
  4   the matters set forth therein,
  5                 b.      was/were made by, or from information transmitted by,
  6   a person with knowledge of those matters;
  7                 c.      was/were kept in the course of the regularly conducted
  8   activity of the Business Entity;
  9                 d.      was/were made by and in the course of the regularly
 10   conducted activity as a regular practice;
 11                 e.      if not original records, are exact duplicates of
 12   original records.
 13
 14
 15          I declare under penalty of perjury that the foregoing is true
 16   and correct.        This declaration is executed at Celtic Bank Corporation
                                                                            (place document was signed)
 17   on 05/26/2021
             (date document was signed)
 18
                                                         (signature)
 19
                                                     Justin Masterman
 20                                                      (typed or printed name)

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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                               DOJ_PROD_0000164360
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 23 of 64 Page ID #:5639




                                                       Attachment A



                Entity                    Loan Nos.                   Beginning Bates        Ending Bates

                                                                DOJ_PROD_0000055262      DOJ_PROD_0000055285
      A V Employment Agency              25389474‐09
                                                                DOJ_PROD_0000093667      DOJ_PROD_0000093708
         AA Appliances LLC               71514374‐07            DOJ_PROD_0000044590      DOJ_PROD_0000044660
                                                                DOJ_PROD_0000044096      DOJ_PROD_0000044096
    Arsa Medical Wholesale Inc.          11382974‐00
                                                                DOJ_PROD_0000044541      DOJ_PROD_0000044689
      Comfort Diagnostics Inc.               N/A                DOJ_PROD_0000044571      DOJ_PROD_0000044589
       EM Construction Co.               35731377‐07            DOJ_PROD_0000045224      DOJ_PROD_0000045235

EM Jewelry dba EM Construction or                               DOJ_PROD_0000045236      DOJ_PROD_0000045301
                                         92065874‐03
         Artem Zherdov                                          DOJ_PROD_0000045320      DOJ_PROD_0000045328

                                         80048473‐08            DOJ_PROD_0000044097      DOJ_PROD_0000044195
        Fetch Industries, Inc.
                                         37693272‐06            DOJ_PROD_0000044690      DOJ_PROD_0000044850
        Fiber One Media, Inc.                N/A                DOJ_PROD_0000000342      DOJ_PROD_0000000374
                                         10211274‐02
          Gaz Construction                                      DOJ_PROD_0000055304      DOJ_PROD_0000055346
                                         38634574‐02
                                                                DOJ_PROD_0000044196      DOJ_PROD_0000044229
                                         43638473‐01            DOJ_PROD_0000044851      DOJ_PROD_0000044888
          Hart Construction
                                         75361973‐10            DOJ_PROD_0000044975      DOJ_PROD_0000044978
                                                                DOJ_PROD_0000151651      DOJ_PROD_0000151750
                                                                DOJ_PROD_0000044230      DOJ_PROD_0000044283
          Jobe Construction              34019777‐05
                                                                DOJ_PROD_0000044889      DOJ_PROD_0000044890
                                         54092174‐10
   Journeymen Construction Inc.                                 DOJ_PROD_0000070178      DOJ_PROD_0000070291
                                         43200380‐07
Jupiter Digital Solutions LLC ‐ Sabala
                                         37874377‐09            DOJ_PROD_0000044983      DOJ_PROD_0000045012
             Construction
                                                                DOJ_PROD_0000044284      DOJ_PROD_0000044304
      Manukyan Construction              10822874‐08
                                                                DOJ_PROD_0000044891      DOJ_PROD_0000044908
                                                                DOJ_PROD_0000000194      DOJ_PROD_0000000206
         Mod Interiors, Inc.             33508277‐05            DOJ_PROD_0000000295      DOJ_PROD_0000000311
                                                                DOJ_PROD_0000044305      DOJ_PROD_0000044347
             Montradath                  94846874‐09            DOJ_PROD_0000045181      DOJ_PROD_0000045209
                                                                DOJ_PROD_0000045057      DOJ_PROD_0000045066
   New World Empire Trading Inc          15827780‐02            DOJ_PROD_0000045085      DOJ_PROD_0000045102
                                                                DOJ_PROD_0000055217      DOJ_PROD_0000055261
                                                                DOJ_PROD_0000000375      DOJ_PROD_0000000414
     Redline Auto Collision Inc.         32302674‐04
                                                                DOJ_PROD_0000044979      DOJ_PROD_0000044982

    Redline Auto Mechanics Inc.          53125280‐06            DOJ_PROD_0000000415      DOJ_PROD_0000000448

                                         99837873‐00
      Samuel Sauza, D.D.S. Inc                                  DOJ_PROD_0000044909      DOJ_PROD_0000044931
                                         80051173‐03
                                                                DOJ_PROD_0000000207      DOJ_PROD_0000000216
                                                                DOJ_PROD_0000000312      DOJ_PROD_0000000341
        Time Line Transport              17648074‐06
                                                                DOJ_PROD_0000000449      DOJ_PROD_0000000453
                                                                DOJ_PROD_0000044932      DOJ_PROD_0000044932
                                         37288577‐06
      Top Quality Contracting                                   DOJ_PROD_0000000217      DOJ_PROD_0000000294
                                         83110473‐04
           VB Trucking Inc.              92211078‐00            DOJ_PROD_0000044937      DOJ_PROD_0000044974
                                                                DOJ_PROD_0000044933      DOJ_PROD_0000044936
            Verchna, Inc.                45932373‐01
                                                                DOJ_PROD_0000055462      DOJ_PROD_0000055499
                                         76152873‐00            DOJ_PROD_0000044348      DOJ_PROD_0000044356
        VLA Construction Inc.
                                         80125173‐03            DOJ_PROD_0000044375      DOJ_PROD_0000044540
          Voyage Limo, LLC                                      DOJ_PROD_0000045107      DOJ_PROD_0000045108
                                         83368774‐00
                                                                DOJ_PROD_0000045127      DOJ_PROD_0000045180




    CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                                DOJ_PROD_0000164361
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 24 of 64 Page ID #:5640




                      Exhibit B-3
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 25 of 64 Page ID #:5641




  1                 DECLARATION OF CUSTODIAN CERTIFYING BUSINESS RECORD
  2          I,    Eli Hazan
                  ----------- ,                hereby declare as follows:
                          (name)
  3
             1.      I am a duly authorized custodian of records for
  4     Cross River Bank
                                       (the "Business Entity").   In that capacity, I am
  5     (name of business entity)
      knowledgeable about the matters set forth herein and I am qualified
  6
      and authorized to make this declaration.
  7
                     a.       My job title/position is:
  8
                     b.       I have been employed in this capacity for
  9
            5 Years                                                      7 Years
 10                                  and by the Business Entity for
             (duration)                                                     (duration)

 11                  c.       My job duties are:

 12
 13

 14
                     d.       I am knowledgeable about the matters set forth herein
 15
      and the relevant record-keeping practices of the Business Entity
 16
      based upon (check all that apply):
 17
                 x Training.
 18
             x     Familiarity with relevant policy/policies.
 19
               x Hands-on experience.
 20
               x Supervision of one or more others with hands-on experience.
 21
               x Other.            Describe:
 22

 23
             2.      The record(s) produced within the indicated Bates range(s) listed
 24

 25   below are correct duplicates of a record or records of a regularly

 26   conducted activity of the Business Entity named above:

 27
 28                                            See Attachment A




  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                   DOJ_PROD_0000165006
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 26 of 64 Page ID #:5642




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  2          3.     I certify that the record(s)referenced above:
  3                 a.      was/were made at or near the time of the occurrence of
  4   the matters set forth therein,
  5                 b.      was/were made by, or from information transmitted by,
  6   a person with knowledge of those matters;
  7                 c.      was/were kept in the course of the regularly conducted
  8   activity of the Business Entity;
  9                 d.      was/were made by and in the course of the regularly
 10   conducted activity as a regular practice;
 11                 e.      if not original records, are exact duplicates of
 12   original records.
 13
 14
 15          I declare under penalty of perjury that the foregoing is true
 16   and correct.        This declaration is executed at
                                                                              Spring Valley, NY
 17          6/01/2021                                                      (place document was signed)
      on
             (date document was signed)
 18
                                                         (signature)
 19
                                                          Eli Hazan
 20                                                      (typed or printed name)

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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                               DOJ_PROD_0000165007
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 27 of 64 Page ID #:5643




                                           Attachment A

          Entity              Loan Nos.           Beginning Bates       Ending Bates
   Allstate Towing and
                             94640473‐10      DOJ_PROD_0000000786   DOJ_PROD_0000000832
      Transport LLC

  Escrow Doc San Ramon       22288079‐08      DOJ_PROD_0000078152   DOJ_PROD_0000078224

   Fetch Industries, Inc.    39215674‐10      DOJ_PROD_0000151574   DOJ_PROD_0000151629

     G&A Diamonds            99175073‐10      DOJ_PROD_0000000833   DOJ_PROD_0000000877
                                              DOJ_PROD_0000072698   DOJ_PROD_0000072907
    Kohl Pictures, Inc.      84316177‐06
                                              DOJ_PROD_0000151630   DOJ_PROD_0000151650
  Manukyan Construction      77881774‐09      DOJ_PROD_0000072634   DOJ_PROD_0000072697

    Mod Interiors Inc.       95703878‐01      DOJ_PROD_0000017889   DOJ_PROD_0000017912


New Acre Farm Produce Inc.   63152180‐07      DOJ_PROD_0000076398   DOJ_PROD_0000076446


   New Acres Farm, LLC       37500581‐06      DOJ_PROD_0000092907   DOJ_PROD_0000092959

   Sabala Construction       68106873‐03      DOJ_PROD_0000072908   DOJ_PROD_0000072943




  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                DOJ_PROD_0000165008
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 28 of 64 Page ID #:5644




                      Exhibit B-4
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 29 of 64 Page ID #:5645




  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER         DOJ_PROD_0000163289
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 30 of 64 Page ID #:5646




  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER         DOJ_PROD_0000163290
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 31 of 64 Page ID #:5647




  1                    DECLARATION OF CUSTODIAN CERTIFYING BUSINESS RECORD
  2           I,      Nora Hobbie
                    -----------   ,                  hereby declare as follows:
                             (name)
  3                                                         employee representative
              1.        I am a duly authorized custodian of records for
  4                                                     SBA
      U.S. Small Business Administration    (the "Business Entity").               In that capacity, I am
  5     (name of business entity)
      knowledgeable about the matters set forth herein and I am qualified
  6
      and authorized to make this declaration.
  7
                        a.       My job title/position is:
  8                                                           Attorney Advisor/Liaison to Office of the Inspector General
                        b.       I have been employed in this capacity for
  9
        15 years total (5 as Liaison)                          SBA
 10                                       and by the Business Entity for 15 years total (5 as Liaison)
              (duration)                                                                         (duration)

 11                     c.       My job duties are:

 12          Prepare and certify SBA ODA records; serve as a Liaison to SBA OIG related to fraud in
             SBA ODA programs; serve as a subject matter expert regarding SBA ODA policies and
             procedures; oversee SBA ODA fraud teams; review and address SBA ODA applications /
 13          loans with suspected fraud or identity theft; and refer concerns of fraud, waste and
             abuse to SBA OIG for investigation.
 14
                        d.       I am knowledgeable about the matters set forth herein
 15
      and the relevant record-keeping practices of the Business Entity
 16
      based upon (check all that apply):
 17
                      Training.
 18
                      Familiarity with relevant policy/policies.
 19
                      Hands-on experience.
 20
                      Supervision of one or more others with hands-on experience.
 21
                      Other.            Describe:    Establishing and drafting internal guidance regarding same
 22

 23
               2.       The record(s) produced within the indicated Bates range(s) listed
 24

 25   below are correct duplicates of a record or records of a regularly
                                                      SBA
 26   conducted activity of the Business Entity named above:

 27
 28                                                  See Attachment A




  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                                          DOJ_PROD_0000165012
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 32 of 64 Page ID #:5648




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  2          3.     I certify that the record(s)referenced above:
  3                 a.      was/were made at or near the time of the occurrence of
  4   the matters set forth therein,
  5                 b.      was/were made by, or from information transmitted by,
  6   a person with knowledge of those matters;
  7                 c.      was/were kept in the course of the regularly conducted
                                     SBA
  8   activity of the Business Entity;
  9                 d.      was/were made by and in the course of the regularly
 10   conducted activity as a regular practice;
 11                 e.      if not original records, are exact duplicates of
 12   original records.
 13
 14
 15          I declare under penalty of perjury that the foregoing is true
 16   and correct.         This declaration is executed at Watauga, Texas
                                                                            (place document was signed)
 17   on    June 1, 2021
             (date document was signed)
 18
                                                         (signature)
 19
                                                     Nora Hobbie
 20                                                      (typed or printed name)

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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                               DOJ_PROD_0000165013
                                                    Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 33 of 64 Page ID #:5649




                                                                                             Attachment A



   Rapid Application No.                 Applicant                         BeginningBates                          EndingBates          Individual POC Name_1
       3306374670          Abc legal services and management           DOJ_PROD_0000091509                    DOJ_PROD_0000091512            Greta Akopyan
       3600336227               ABC Realty Advisors inc                DOJ_PROD_0000091513                    DOJ_PROD_0000091526            Arsen Dadyan
       3306434995           All State Towing and Transport 1           DOJ_PROD_0000001233                    DOJ_PROD_0000001306           Artur Ayvazyan
       3304258690                      Cactus Mart                    DOJ_PROD_0000093033                     DOJ_PROD_0000093124           Olena Sosunova
       3304248332                    Classic Nursery                   DOJ_PROD_0000079447                    DOJ_PROD_0000079459             Iuliia Zhadko
       3300422397                  EM Construction Co                  DOJ_PROD_0000079962                    DOJ_PROD_0000080013            Artem Zherdov
       3304685294                 Fadehaus Barbershop                  DOJ_PROD_0000001307                    DOJ_PROD_0000001377          Anton Kudiumov
       3000205737                    Fiber One Media                   DOJ_PROD_0000001378                    DOJ_PROD_0000001448          Viktoria Kauichko
       3303411011          Fiber One Media, Inc. (Secureline)          DOJ_PROD_0000001449                    DOJ_PROD_0000001522          Viktoria Kauichko
       3305673239           First class property management            DOJ_PROD_0000091603                    DOJ_PROD_0000091617             Romana Cias
       3304273475                 Green Label Nutrienrs                DOJ_PROD_0000080382                    DOJ_PROD_0000080452           Tamara Dadyan
       3307401790                    Grigor Akopyan                    DOJ_PROD_0000080524                    DOJ_PROD_0000080577           Grigor Akopyan
       3600282210               Journeymen Construction                DOJ_PROD_0000001596                    DOJ_PROD_0000001650          Viktoria Kauichko
       3305384548                       Lk Design                      DOJ_PROD_0000091764                    DOJ_PROD_0000091777         Liudmyla Kopytova
       3311465328                        Lk design                     DOJ_PROD_0000091778                    DOJ_PROD_0000091789         Liudmyla Kopytova
       3311278252               MD Acquisition Services                DOJ_PROD_0000091802                    DOJ_PROD_0000091822         Mykhail Diuzhenko
       3309076030           Michael Hart (Hart Construction)           DOJ_PROD_0000081414                    DOJ_PROD_0000081487            Michael Hart
                                                                       DOJ_PROD_0000081488                    DOJ_PROD_0000081544
       3311548350                                                                                                                          Nazar Terabelian
                                     Mod Interiors                     DOJ_PROD_0000083366                    DOJ_PROD_0000083374
       3304259658                  Nelson's Nursery                    DOJ_PROD_0000001651                    DOJ_PROD_0000001721         Anton Kudiumov
       3305133964             Ocean Choice Seafood Corp                DOJ_PROD_0000093457                    DOJ_PROD_0000093468          Olena Sosunova
       3307395272             Ocean Choice Seafood Corp                DOJ_PROD_0000093469                    DOJ_PROD_0000093482          Olena Sosunova
       3305357034              Redline Auto Mechanics                  DOJ_PROD_0000001786                    DOJ_PROD_0000001857         Anton Kudiumov
       3305919545              Runyan Tax Service, Inc                 DOJ_PROD_0000022102                    DOJ_PROD_0000022151        Viktoria Kauichko
       3300976819                 Sabala Construction                  DOJ_PROD_0000082328                    DOJ_PROD_0000082393           Medet Murat
       3600341266            Secureline Realty and Funding             DOJ_PROD_0000082394                    DOJ_PROD_0000082445         Tamara Dadyan
       3304273550                    Six star farms                    DOJ_PROD_0000092043                    DOJ_PROD_0000092057          Anna Dzukaeva
       3304953271                    Six star Farms                    DOJ_PROD_0000092058                    DOJ_PROD_0000092061          Anna Dzukaeva
       3311458857                  Tia Mia Daycare                     DOJ_PROD_0000092076                    DOJ_PROD_0000092084        Estephanie Reynoso
       3309254454                   TM Events Inc.                     DOJ_PROD_0000001858                    DOJ_PROD_0000001930         Anton Kudiumov
       3600140246               Top Quality Contracting                DOJ_PROD_0000001931                    DOJ_PROD_0000002000           Iuliia Zhadko
       3312192336                Turing Info Solutions                 DOJ_PROD_0000082728                    DOJ_PROD_0000082741           Iuliia Zhadko




CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                                                                                                 DOJ_PROD_0000165014
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                      Exhibit B-5
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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER              DOJ_PROD_0000165015
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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                              DOJ_PROD_0000165016
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   CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER        DOJ_PROD_0000165017
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                      Exhibit B-6
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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER         DOJ_PROD_0000164363
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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER         DOJ_PROD_0000164364
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                      Exhibit B-7
     Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 43 of 64 Page ID #:5659




                       CERTIFICATION OF DOMESTIC RECORDS
                       OF REGULARLY CONDUCTED ACTIVITY
                           Pursuant to Fed. R. Evidence 902(11)

The undersigned declarant hereby declares, certifies, verifies, or states the following:
1.    The declarant is a records custodian or other qualified person who can provide a written
      declaration regarding the records of regularly conducted business activity which are the
      subject of this certification.

2.      The records of regularly conducted business activity (hereinafter “records”) which are the
        subject of this certification are identified as: [If this is insufficient room in which to
        adequately identify the items certified, complete on a separate sheet and refer to that sheet
        here.]       Records produced on October 8, 2020 in response to September 24, 2020 subpoena
                     (No. 15959), bearing Bates Nos. CHH-RC_0000001 - 0000173.
3.      The records are originals or duplicate copies of domestic (United States) business records;

4.      The records were made at or near the time of the occurrence of the matters set forth by, or
        from information transmitted by, a person with knowledge of those matters;

5.      The records were kept in the course of a regularly conducted business activity; and

6.      The records were made by the regularly conducted business activity as a regular practice.

        I hereby declare, certify, verify, or state, under penalty of perjury, that the foregoing is
        true and correct.


                                                       ______________________________
                                                       Signature of Declarant

                                                       Elizabeth Bastedo
                                                       ______________________________
                                                       Printed Name

                                                       Authorized Person
                                                       ______________________________
                                                       Title

                                                        ReadyCap Lending, LLC
                                                       ______________________________
                                                       Company Name

                                                       200 Connell Drive, Suite 4000, Berkeley Heights, NJ 07922
                                                       ______________________________
                                                       Business Address

                                                        5/10/2021
                                                       ______________________________
                                                       Date of Declaration/Execution



       CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                            DOJ_PROD_0000162806
     Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 44 of 64 Page ID #:5660




                       CERTIFICATION OF DOMESTIC RECORDS
                       OF REGULARLY CONDUCTED ACTIVITY
                           Pursuant to Fed. R. Evidence 902(11)

The undersigned declarant hereby declares, certifies, verifies, or states the following:
1.    The declarant is a records custodian or other qualified person who can provide a written
      declaration regarding the records of regularly conducted business activity which are the
      subject of this certification.

2.      The records of regularly conducted business activity (hereinafter “records”) which are the
        subject of this certification are identified as: [If this is insufficient room in which to
        adequately identify the items certified, complete on a separate sheet and refer to that sheet
        here.]       Records produced on September 15, 2020 in response to September 1, 2020 subpoena
                     (No. 14591), bearing Bates Nos. FOMI-RC_0000001 - 00001081.
3.      The records are originals or duplicate copies of domestic (United States) business records;

4.      The records were made at or near the time of the occurrence of the matters set forth by, or
        from information transmitted by, a person with knowledge of those matters;

5.      The records were kept in the course of a regularly conducted business activity; and

6.      The records were made by the regularly conducted business activity as a regular practice.

        I hereby declare, certify, verify, or state, under penalty of perjury, that the foregoing is
        true and correct.


                                                       ______________________________
                                                       Signature of Declarant

                                                         Elizabeth Bastedo
                                                       ______________________________
                                                       Printed Name

                                                        Authorized Person
                                                       ______________________________
                                                       Title

                                                         ReadyCap Lending, LLC
                                                       ______________________________
                                                       Company Name

                                                        200 Connell Drive, Suite 4000, Berkeley Heights, NJ 07922
                                                       ______________________________
                                                       Business Address

                                                         5/10/2021
                                                       ______________________________
                                                       Date of Declaration/Execution



       CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                            DOJ_PROD_0000162807
     Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 45 of 64 Page ID #:5661




                        CERTIFICATION OF DOMESTIC RECORDS
                        OF REGULARLY CONDUCTED ACTIVITY
                            Pursuant to Fed. R. Evidence 902(11)

The undersigned declarant hereby declares, certifies, verifies, or states the following:
1.    The declarant is a records custodian or other qualified person who can provide a written
      declaration regarding the records of regularly conducted business activity which are the
      subject of this certification.

2.      The records of regularly conducted business activity (hereinafter “records”) which are the
        subject of this certification are identified as: [If this is insufficient room in which to
        adequately identify the items certified, complete on a separate sheet and refer to that sheet
        here.]       Records produced on July 20, 2020 in response to July 14, 2020 subpoena (No. 12273),
                     bearing Bates Nos. TQ-RC_0000001 - 0000065.
3.      The records are originals or duplicate copies of domestic (United States) business records;

4.      The records were made at or near the time of the occurrence of the matters set forth by, or
        from information transmitted by, a person with knowledge of those matters;

5.      The records were kept in the course of a regularly conducted business activity; and

6.      The records were made by the regularly conducted business activity as a regular practice.

        I hereby declare, certify, verify, or state, under penalty of perjury, that the foregoing is
        true and correct.


                                                        ______________________________
                                                        Signature of Declarant

                                                         Elizabeth Bastedo
                                                        ______________________________
                                                        Printed Name

                                                         Authorized Person
                                                        ______________________________
                                                        Title

                                                         ReadyCap Lending, LLC
                                                        ______________________________
                                                        Company Name

                                                        200 Connell Drive, Suite 4000, Berkeley Heights, NJ 07922
                                                        ______________________________
                                                        Business Address

                                                          5/10/2021
                                                        ______________________________
                                                        Date of Declaration/Execution



       CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                               DOJ_PROD_0000162808
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 46 of 64 Page ID #:5662




                      Exhibit B-8
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                      Exhibit B-9
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                           DECLARATION OF CUSTODIAN OF RECORDS


           Pursuant to 28 U.S.C. § 1746, I, the undersigned, hereby declare:

    My name is     Michael Bland
                           (name of declarant)

            I am a United States citizen, and I am over eighteen years of age. I am the custodian of
    records of the business named below, or I am otherwise qualified as a result of my position with the
    business named below to make this declaration.

             I am in receipt of a United States District Court Grand Jury Subpoena for the Central
    District of California, signed by Clerk of Court Kiry K Gray requesting specified records of the
    business named below. Attached hereto are records responsive to the subpoena. Pursuant to
    Federal Rule of Evidence 902(11) and Federal Rule of Evidence 803(6), I hereby certify that the
    records attached hereto:

           (1) were made at or near the time of the occurrence of the matters set forth by, or from
    information transmitted by, a person with knowledge of those matters;

           (2) were kept in the course of the regularly conducted business activity; and

           (3) were made by the regularly conducted business activity as a regular practice.

           I declare under penalty of perjury that the foregoing is true and correct.


           Executed on         6/1/2021



                                                  __________________________________
                                                  (signature of declarant)

                                                  _Michael Bland_____________________
                                                  (name of declarant)

                                                  _Fountainhead SBF LLC______________
                                                  (name of business/firm)

                                                  _3216 W Lake Mary Blvd_____________
                                                  (business address)

                                                  _Lake Mary, FL 32746_______________




       CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER                       DOJ_PROD_0000165011
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                      Exhibit B-10
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                                                                                                   2020r03494 - 010




                                            MOD INTERIORS
                                     CERTIFICATE OF AUTHENTICITY
                                                  OF
                                          BUSINESS RECORDS
                            Shelli Hayman
           I,                                              , declare, pursuant to Title 28, U.S.C. § 1746,
                     (Print Name)

    that I am employed by CDC Small Business Finance Corp.                       and that my official title
                                      (Name of Business)
                             V.P. of Production
    or position is                                            . I further declare that I am a custodian of
    records
                     (Official Title or Position)

    of said business and that each of the records attached hereto is the original or a duplicate (exact



                                                              CDC Small Business Finance Corp.
    photocopy) of an original record in the custody of                                                      .
                                                            (Name of Business)

           I further state that:

           1)        Such records were made, at or near the time of the occurrence of the matters set
                     forth by (or from information transmitted by) a person with knowledge of those
                     matters;

           2)        such records were kept in the course of a regularly conducted business activity;

           3)        the business activity made such records as a regular practice; and

           4)        if such records are not the originals, such records are duplicates of the originals.

           I declare under penalty of perjury the foregoing is true and correct.


       07-24-20                                    Shelli Hayman

    (Date of Execution)                             (Print Name)
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 Orange County, CA
  Orang County, California
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    (Place of Execution)                            (Signature)
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Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 53 of 64 Page ID #:5669




  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER         DOJ_PROD_0000156516
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                      Exhibit B-11
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Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 57 of 64 Page ID #:5673




                      Exhibit B-12
Case 2:20-cr-00579-SVW Document 468-4 Filed 06/09/21 Page 58 of 64 Page ID #:5674




  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER         DOJ_PROD_0000164490
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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER         DOJ_PROD_0000164491
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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER         DOJ_PROD_0000164492
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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER         DOJ_PROD_0000164493
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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER         DOJ_PROD_0000164494
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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER         DOJ_PROD_0000164495
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  CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER         DOJ_PROD_0000164496
